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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

PATRICIA A. JOHNSON,

      Plaintiff,                            Case No.: 6:19-cv-02139-GAP-EJK

vs.

WALT DISNEY PARKS AND RESORTS
U.S., INC.,

     Defendant.
_____________________________/

                            NOTICE OF APPEAL

      Pursuant to Rules 3 and 4, Federal Rules of Appellate Procedure, Notice is

hereby given that Plaintiff, PATRICIA A. JOHNSON (“Plaintiff”), in the above-

styled action against Defendant, WALT DISNEY PARKS AND RESORTS U.S.,

INC. (“Defendant”), hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the Middle District Court’s Final Order dated May 21, 2021,

Final Judgment dated May 24, 2021, and Order on Plaintiff’s Motion for

Reconsideration dated July 13, 2021.

      Respectfully Submitted,

/s/ Richard S. Larson______________         /s/ Ronald W. Sikes_____________
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                      CERTIFICATE OF SERVICE

      WE HEREBY CERTIFY that a true and correct copy of the foregoing has
been furnished by electronic mail this 6th day of August, 2021 to:

JEREMY WHITE, ESQ.
500 North Capitol Street
N.W., Washington, D.C. 20001
Jmwhite@mwe.com

/s/ Richard S. Larson________________   /s/ Ronald W. Sikes______________
RICHARD S. LARSON, ESQUIRE              RONALD W. SIKES, ESQUIRE




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